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 6                                                       UNITED STATES DISTRICT COURT
                                                             DISTRICT OF ARIZONA
 7
                    Fernando Gastelum,
 8                        Plaintiff                                       CV-17-3024-PHX-DGC (JFM)
                            -vs-
 9              Phoenix Extend-A-Suites LLC,                                         Order
                         Defendant.
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11                     This matter was referred to the undersigned for purposes of conducting a
12   settlement conference. (Order 4/26/18, Doc. 47.) The conference was set for June 13,
13   2018. (Order 5/3/18, Doc. 50.) On May 31, 2018, Plaintiff filed a Notice of Settlement
14   (Doc. 51) reflecting a settlement of the matter.
15                   IT IS THEREFORE ORDERED the settlement conference set for June 13,
16   2018 and the deadline for supplementation of settlement memoranda set for June 4, 2018
17   are VACATED, to be reset if the settlement is not timely completed.
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     Dated: June 5, 2018                                                         James F. Metcalf
20   17-3024o Order 18 06 05 re Vacate Sched Conf.docx
                                                                           United States Magistrate Judge
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